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         1 CALDWELL LESLIE & PROCTOR, PC
           LINDA M. BURROW, State Bar No. 194668
         2  burrow@caldwell-leslie.com
           KELLY L. PERIGOE, State Bar No. 268872
         3  perigoe@caldwell-leslie.com
           725 South Figueroa Street, 31st Floor
         4 Los Angeles, California 90017-5524
           Telephone: (213) 629-9040
         5 Facsimile: (213) 629-9022
        6 Attorneys for Defendants DANIEL
          WILLIAM STRONG, LEE DANIELS,
        7 IMAGINE TELEVISION, LLC,
          (erroneously sued as “IMAGINE
        8 ENTERTAINMENT”), and TWENTIETH
          CENTURY FOX FILM CORPORATION
        9 (erroneously sued as TWENTY-FIRST
          CENTURY FOX, INC.”)
       10
                               UNITED STATES DISTRICT COURT
       11
                CENTRAL DISTRICT OF CALIFORNIA, WESTERN DIVISION
       12
       13 JON ASTOR-WHITE,                            Case No. 15-cv-06326 PA (RAOx)
       14               Plaintiff,                    NOTICE OF MOTION AND
                                                      MOTION OF DEFENDANTS
       15        v.                                   DANIEL WILLIAM STRONG, LEE
                                                      DANIELS, IMAGINE
       16 DANIEL WILLIAM STRONG “aka”                 TELEVISION, LLC, AND
          DANNY STRONG; LEE DANIELS;                  TWENTIETH CENTURY FOX
       17 IMAGINE ENTERTAINMENT;                      FILM CORPORATION TO
          TWENTY-FIRST CENTURY FOX,                   DISMISS FIRST AMENDED
       18 INC.; and DOES I through X,                 COMPLAINT WITH PREJUDICE
                                                      PURSUANT TO FEDERAL RULE
       19               Defendants.                   OF CIVIL PROCEDURE 12(B)(6);
                                                      MEMORANDUM OF POINTS AND
       20                                             AUTHORITIES
       21                                             [Declaration of Kelly L. Perigoe;
                                                      [Proposed] Order Re Motion to
       22                                             Dismiss; Request for Judicial Notice;
                                                      and [Proposed] Order filed
       23                                             concurrently herewith]
       24                                             The Honorable Percy Anderson
       25                                             Date:         February 22, 2016
                                                      Time:         1:30 p.m.
       26                                             Courtroom:    15
       27
       28
CALDWELL
  LESLIE &
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         1 TO ALL PARTIES AND TO THEIR COUNSEL OF RECORD:
         2        PLEASE TAKE NOTICE that on February 22, 2016, at 1:30 p.m., or as
         3 soon thereafter as this matter may be heard, in the courtroom of the Honorable Percy
         4 Anderson, located in the United States Courthouse, 312 N. Spring Street, Los
         5 Angeles, CA 90012, Defendants Daniel William Strong, Lee Daniels, Imagine
         6 Television, LLC (erroneously sued as “Imagine Entertainment”), and Twentieth
         7 Century Fox Film Corporation (erroneously sued as “Twenty-First Century Fox,
         8 Inc.”) (collectively, “Defendants”) will and hereby do move this Court to dismiss
         9 Plaintiff’s First Amended Complaint (“FAC”) with prejudice, pursuant to Federal
       10 Rule of Civil Procedure 12(b)(6), on the following grounds:
       11             Plaintiff’s claim for copyright infringement fails because Plaintiff does
       12               not and cannot allege that the Defendants had access to his “Treatment”
       13               as required to state a claim for copyright infringement in the absence of
       14               direct evidence of copying.
       15             Plaintiff’s claim for copyright infringement fails for the independent
       16               reason that Plaintiff’s Treatment is not substantially similar to
       17               Defendants’ television series, Empire, in a manner protected by
       18               copyright law.
       19             Because the defects in Plaintiff’s FAC cannot be cured by amendment
       20               of the FAC, the FAC should be dismissed with prejudice.
       21         This Motion is based on this Notice of Motion, the accompanying
       22 Memorandum of Points and Authorities, the Declaration of Kelly L. Perigoe and
       23 Request for Judicial Notice and exhibits thereto filed concurrently herewith, all of
       24 the pleadings and other documents on file in this case, all other matters of which the
       25 Court may take judicial notice, and any further argument or evidence that may be
       26 received by the Court at the hearing.
       27         Pursuant to Local Rule 7-3, counsel for Defendants spoke to counsel for
       28 Plaintiff regarding this Motion on December 2, 2015, but the parties were unable to
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         1 resolve the issues presented in this Motion. See Declaration of Kelly L. Perigoe, ¶
         2 2. Counsel for Defendants contacted counsel for Plaintiff again on January 12,
         3 2016, who confirmed that Plaintiff intended to stand by the allegations in his FAC.
         4 Id., ¶ 3.
         5
         6 DATED: January 18, 2016              CALDWELL LESLIE & PROCTOR, PC
         7                                      LINDA M. BURROW
                                                KELLY L. PERIGOE
         8
         9
       10                                       By        /s/
       11                                            LINDA M. BURROW
                                                Attorneys for Defendants DANIEL WILLIAM
       12                                       STRONG, LEE DANIELS, IMAGINE
       13                                       TELEVISION, LLC, and TWENTIETH
                                                CENTURY FOX FILM CORPORATION
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         1               MEMORANDUM OF POINTS AND AUTHORITIES
         2 I.     INTRODUCTION
         3        Plaintiff Jon Astor-White claims that the Defendants’ television series Empire
         4 infringes his four-page “treatment” containing his idea for a mini-series titled King
         5 Solomon (the “Treatment”). Plaintiff’s copyright claim fails because Plaintiff does
         6 not plead either access or substantial similarity in protectable expression and thus
         7 fails to state a copyright infringement claim. Indeed, a comparison of Defendants’
         8 Empire and Plaintiff’s Treatment (the “Works”) reveals a clear lack of protectable
         9 similarities between Plaintiff’s idea for a mini-series, which involves a Harvard-
       10 educated “Black Record Business Mogul” dealing with family and business
       11 conflicts, including an extortionist half-brother and a mob-backed rival record
       12 company, and Empire, which is the story of Lucious Lyon, a former drug dealer
       13 turned rapper and music mogul, who, as the series begins, has recently been
       14 diagnosed with a terminal disease, and his powerful ex-wife, Cookie, who battles
       15 Lucious for control of his music empire. Empire also centers around Lucious and
       16 Cookie’s three adult sons, one of whom is mentally ill, another is gay, and two of
       17 whom are pop and hip-hop stars in their own right, and the shifting alliances and
       18 feuds among the sons and between the sons and their parents.
       19         Plaintiff’s First Amended Complaint (“FAC”) should be dismissed with
       20 prejudice for at least two reasons:
       21         First, Plaintiff fails entirely to allege access. Plaintiff alleges that he gave the
       22 Treatment to just three people, none of whom are Defendants: actor Richard
       23 Roundtree (who is not in Empire); Roundtree’s agent, who rejected the project on
       24 Roundtree’s behalf; and a friend, who filed the Treatment away and showed it to no
       25 one. Far from alleging a reasonable possibility that Empire’s creators had an
       26 opportunity to view his Treatment, the FAC all but forecloses access to the
       27 Treatment by Defendants.
       28
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       1           Second, Plaintiff’s copyright claim should be dismissed—with prejudice—for
       2 the independent reason there is not a single protectable element in Empire that also
       3 appears in Plaintiff’s Treatment. Empire’s signature elements—the charismatic
       4 Cookie and her struggle to take control of the record company she co-founded
       5 before going to prison, Lucious’s illness, the mental illness and inter-racial marriage
       6 of Andre, Lucious and Cookie’s older son, and the struggles between Jamal, their
       7 middle son, who is gay, and Lucious, his homophobic father, among others—have
       8 no protected counterpart in Plaintiff’s Treatment. Instead, the Treatment sets forth
       9 only the generic, broad, and unprotecable idea for a mini-series about a wealthy
      10 black family struggling to control its hip hop music business. It describes only one
      11 scene, contains no dialogue, and includes only a handful of thinly described
      12 characters, none of which is similar to any of Empire’s protectable elements.
      13           The purported similarities between these two Works are unprotectable story
      14 elements that naturally flow from any plot premise of the struggles within a wealthy
      15 family engaged in the hip hop music business, known as scenes a faire. Because the
      16 Works are before this Court (Plaintiff’s Treatment was attached to the Complaint
      17 and Empire is incorporated by reference into the FAC) and properly considered on a
      18 motion to dismiss, and because no amended pleading could create substantial
      19 similarities between Plaintiff’s Treatment and Empire, permitting Plaintiff to amend
      20 would be an exercise in futility. This Court should therefore dismiss Plaintiff’s FAC
      21 with prejudice and without leave to amend.
      22 II.       FACTUAL BACKGROUND1
      23           A.     Plaintiff’s Treatment
      24           Plaintiff alleges that he created his Treatment in October 2007, FAC, ¶ 9, Ex.
      25
           1
      26     For the purposes of this Motion, Defendants accept as true the factual allegations
           in the FAC, except those that are flatly contradicted by judicially noticeable facts.
        27 See Steckman v. Hart Brewing, Inc., 143 F.3d 1293, 1295-96 (9th Cir. 1998). For
        28 the record, Defendants vehemently deny Plaintiff’s factual allegations.
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         1 A, and that he registered the Treatment with the United States Copyright Office on
         2 March 26, 2015. FAC, Ex. C. The Treatment, attached to the FAC as Exhibit A
         3 and part of the court record, consists of a title page, describing the work as a “One
         4 Hour Mini-Series Television Projection [sic],” a list of “Suggested Lead
         5 Actors/Actresses” (none of whom appear in Empire), and less than four pages
         6 actually describing the concept for King Solomon. FAC, Ex. A.
         7        According to the Treatment, King Solomon is the story of a “Black Record
         8 Business Mogul” named King Solomon (“King”) and his family, and is set in
         9 present-day Hollywood with occasional flashbacks revealing King’s rise to power.
       10 FAC, Ex. A-4. The Treatment describes King as a Harvard graduate who started a
       11 small record label, Solomon Records, with one female singer and a band, growing
       12 the label into a billion dollar business. Id., A-4, A-6. After King’s first wife dies,
       13 he marries his “high school sweetheart and secretary,” Janet. Id., A-4. King and
       14 Janet have three children: a son, Jack, a college graduate with a degree in business
       15 administration who looks to run the family business one day; a second son, Joe,
       16 whom King bans from the family estate after he drops out of college to become a
       17 hip-hop artist; and a daughter, Jenny, an aspiring actress and model. Id. After being
       18 cut off by his father, Joe becomes a hip hop artist and signs a record deal with
       19 Diamond Star Records, the rival to Solomon Records, which is run by King’s
       20 nemesis, Jim Diamond, and is reportedly backed by West Coast mob boss, “Lucky
       21 Lou De Angelo.” Id., A-4-5. King also engages in “tough nego[t]iations with his
       22 mega-stars,” who threaten to move to Diamond Star Records. Id., A-6.
       23         King’s half-brother, Jake, upon being released from prison where he served
       24 20 years for drug possession, crashes a 21st birthday party that King throws for his
       25 daughter Jenny. Id., A-5. Apparently sharing an unidentified “deep dark secret”
       26 with King, Jake demands King pay him “hush-money.” Id. Unable to find
       27 legitimate work, Jake returns to a life of crime and drugs. Id. He meets a teenager
       28 who was abandoned by her mother and is living on the streets, “strung out on drugs
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       1 and prostitution.” Id., A-6. Jake then “learns almost too late . . . that she is his
       2 daughter, born to his ex-girl friend [sic] (now deceased) while he was in prison.” Id.
       3           According to the Treatment, each episode of King Solomon will feature
       4 performances from “actual recording stars appearing and performing their hits.” Id.
       5 Plaintiff describes the “look and feel” of King Solomon as the “style and elegance of
       6 ‘Dynasty’ meets ‘The Sopranos’ with a sprink[l]ing of ‘The Godfather’ blending, in
       7 and out, for effect.” Id., Ex. A-7.
       8           B.     The Empire Television Series2
       9           Empire is the story of world-famous rapper Lucious Lyon (“Lucious”) and his
      10 ex-wife Cookie, a talented music producer, who as a young couple started Empire
      11 Entertainment (“Empire”), a privately held music empire, which, as the series
      12 begins, is on the verge of going public. Request for Judicial Notice (“RJN”), Ex. A,
      13 Ep. 1, 4:50-6:42. Upon learning that he has Amyotrophic Lateral Sclerosis (ALS),
      14 Lucious must decide which of their three adult sons will take over his entertainment
      15 empire. In a plot reminiscent of Shakespeare’s King Lear, Lucious’s three sons—
      16 Andre, a married businessman with bipolar disorder; Jamal, a gay singer rejected by
      17 the homophobic Lucious; and Hakeem, a talented but unfocused rapper—vie for
      18 control of Empire. Id., Ep. 1, 6:43-8:05, 22:24-23:16, 34:36-35:26, 24:41-26:00;
      19 Ep. 10, 0:53-3:49. The three adult sons move between alliances and feuds with each
      20 other and their parents. Cookie’s character is vividly drawn and controversial—
      21 shortly after being released from prison she beats her adult son with a broom for
      22 being disrespectful, id., Ep. 1, 17:45-18:51—has an exceptionally sharp tongue,
      23 distinctive fashion sense, and a regal way of carrying herself. When Cookie is
      24 released from prison after serving 17 years on drug charges, she becomes a powerful
      25
           2
      26     Because Empire is “referenced in—although not attached to—the amended
           complaint, [it is] incorporated by reference in it, and can be considered by the court
        27 in assessing substantial similarity.” Shame on You Prods., Inc. v. Banks, No. CV-
        28 14-03512-MMM (JCx), 2015 WL 4885221, at *11 (C.D. Cal. Aug. 14, 2015).
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       1 figure in the series, as she demands half of the company she started with Lucious.
       2 Id., Ep. 1, 8:06-37, 14:52-56, 15:25-41. She takes Jamal’s side against Lucious,
       3 who will not accept his homosexuality, and ultimately helps Jamal take control of
       4 Empire. Id., Ep. 11, 46:58-47:24. Conflict also arises between the blunt-spoken
       5 Cookie and Lucious’s fiancé, Anika, Empire’s head of artists and repertoire (A&R).
       6 Id., Ep. 1, 16:35-17:13, Ep. 6, 2:43-3:33.
       7           Empire’s chief rival is a record company called “Creedmoor Records,”
       8 headed by Billy Beretti, who only appears in a few episodes. Id., Ep. 3, 5:11-6:00;
       9 Ep. 4, 27:45-29:03, 29:50-30:47, 31:54-33:09; Ep. 9, 5:03-5:34, 10:42-12:11, 13:11-
      10 14:30, 28:00-29:35; Ep. 11, 33:39-35:03.
      11           Empire takes place in present day New York City. Each episode includes the
      12 performance of original pop and hip hop songs, nearly always performed by the
      13 show’s characters (who are not portrayed in the series by “actual recording stars”),
      14 including Lucious’s sons Jamal and Hakeem and Hakeem’s on-again off-again love
      15 interest, Tiana, all of whom are Empire Entertainment artists, occasionally joined by
      16 guest artists who perform along with them. E.g., id., Ep. 1, 3:20-4:38, 30:11-32:33.3
      17           In many ways, Empire is a contemporary take on Shakespeare’s King Lear
      18 and popular 1980s prime-time television soap operas like Dynasty, and Dallas,
      19 which explored wealth, sex, intrigue, and power struggles within wealthy, powerful
      20 families. Id., Ep. 11, 0:01-1:01. Empire’s new twist—a patriarch who is a former
      21 drug dealer-turned successful hip-hop and fashion mogul and who believes he is
      22 dying, and his ex-wife, who also dealt drugs and becomes a musician and fashion
      23 icon in her own right—is in many ways ripped from today’s headlines.
      24
      25
           3
      26    Empire has also, on a few limited occasions, featured recording artists, such as
           Courtney Love and Jennifer Hudson, who played minor characters and who
        27 performed, briefly, without being accompanied by a member of Empire’s regular
        28 cast. See RJN, Ex. A, Ep. 7, 14:50-16:25; Ep. 11, 38:03-38:31.
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       1           Empire debuted on January 7, 2015, and airs during prime time on the Fox
       2 Broadcasting Company television network. FAC, ¶ 9. Season One consists of 12
       3 episodes, each lasting between 44 and 47 minutes. RJN, Ex. A. Empire is currently
       4 in its second season and has been renewed for a third.
       5           C.     Plaintiff’s Access Allegations
       6           Plaintiff claims that, shortly after he wrote the Treatment in October 2007, he
       7 sent it to three individuals, none of whom he alleges are in any way connected to the
       8 creation of Empire.4 First, Plaintiff alleges that he faxed the Treatment to his “close
       9 friend[] and business associate,” Nick Tulli. FAC, ¶¶ 14-15, Ex. D. Tulli did not
      10 pass the Treatment on to anyone, but “filed the material in a folder” in his home
      11 office, where it remained until it “may have accidentally been discarded” during a
      12 later move. FAC, Ex. E-1. Plaintiff also claims he faxed the Treatment to actor
      13 Richard Roundtree (who is not in Empire) and separately to Roundtree’s agent
      14 Patrick McMinn. FAC, ¶¶ 20, 24. Plaintiff concedes (and emails attached to
      15 Plaintiff’s FAC confirm) that McMinn informed Plaintiff by email on October 19,
      16 2007, that neither he nor Roundtree had any interest in the project. Id., ¶¶ 26-29,
      17 Exs. J-1 , K-1, L-1.
      18           Plaintiff does not allege that Tulli, McMinn, or Roundtree had any role in
      19 creating Empire or that they provided the Treatment to anyone who did. While
      20 Plaintiff alleges that he had a “chance meeting” in 2012 with Terrence Howard (an
      21 actor in but not a creator of Empire) at a benefit honoring Muhammed Ali, Plaintiff
      22 does not allege that he and Howard actually spoke, let alone that Plaintiff gave
      23 Howard the Treatment. FAC, ¶ 32.
      24
      25
           4
      26    Plaintiff also alleges that King Solomon was listed—by title only—on the website
           for his company, Las Vegas Entertainment & Sports Television, Inc., as a project set
        27 for development. FAC, ¶ 31, Ex. M. He does not, however, allege that the
        28 Treatment was available on the website.
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       1 III.      LEGAL STANDARD FOR RULE 12(b)(6) MOTION
       2           To survive a motion to dismiss under Federal Rule of Civil Procedure
       3 12(b)(6), a complaint “must contain sufficient factual matter, accepted as true, to
       4 ‘state a claim to relief that is plausible on its face.’” Iqbal v. Ashcroft, 556 U.S. 662,
       5 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A
       6 claim has facial plausibility when the plaintiff pleads factual content that allows the
       7 court to draw the reasonable inference that the defendant is liable for the misconduct
       8 alleged.” Id. “[T]he tenet that a court must accept as true all of the allegations
       9 contained in a complaint is inapplicable to legal conclusions.” Id.
      10           When deciding a Rule 12(b)(6) motion, the Court may also consider evidence
      11 on which the complaint “‘necessarily relies’ if: (1) the complaint refers to the
      12 document; (2) the document is central to the plaintiff’s claim; and (3) no party
      13 questions the authenticity of the document.” United States v. Corinthian Colleges,
      14 655 F.3d 984, 999 (9th Cir. 2011) (citation omitted). Where, as here, the allegedly
      15 infringing works “are referenced in—although not attached to—the amended
      16 complaint, they are incorporated by reference in it, and can be considered by the
      17 court in assessing substantial similarity.” Shame on You, 2015 WL 4885221, at
      18 *11.5
      19 IV.       PLAINTIFF’S FIRST AMENDED COMPLAINT SHOULD BE
      20           DISMISSED
      21           “To establish a prima facie case of copyright infringement, a plaintiff must
      22 show (1) ownership of a valid copyright and (2) violation by the alleged infringer of
      23 at least one of the exclusive rights granted to copyright owners by the Copyright
      24 Act.” UMG Recordings, Inc. v. Augusto, 628 F.3d 1175, 1178 (9th Cir. 2011)
      25 (citation omitted); see also 17 U.S.C. § 501(a). “Absent direct evidence of copying,
      26
      27   5
            The first season of Empire, to which Plaintiff refers in his FAC, is attached to the
        28 concurrently filed RJN as Exhibit A.
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         1 proof of infringement involves fact-based showings that the defendant had ‘access’
         2 to the plaintiff’s work and that the two works are ‘substantially similar.’” Three
         3 Boys Music Corp. v. Bolton, 212 F.3d 477, 481 (9th Cir. 2000) (quoting Smith v.
         4 Jackson, 84 F.3d 1213, 1218 (9th Cir. 1996)).
         5        A.     Courts Routinely Dismiss Infringement Claims With Prejudice for
         6               Lack of Substantial Similarity When the Works are Before the Court
         7        For the past seven decades, courts in this Circuit have followed the “rather
         8 obvious principle” that, “‘when the copyrighted work and the alleged infringement
         9 are both before the court, capable of examination and comparison, non-infringement
       10 can be determined on a motion to dismiss.’” Gadh v. Spiegel, No. CV 14-855-JFW
       11 (PJWx), 2014 WL 1778950, at *3 n.2 (C.D. Cal. Apr. 2, 2014) (quoting
       12 Christianson v. West Publ’g Co., 149 F.2d 202, 203 (9th Cir. 1945), and citing
       13 cases). In Wild v. NBC Universal, for example, the Ninth Circuit affirmed the
       14 District Court’s dismissal with prejudice of the plaintiff’s clams that the television
       15 series Heroes infringed his graphic novel, where the alleged similarities consisted of
       16 “scenes a faire” or “random similarities scattered throughout the works” that were
       17 insufficient to support a claim of substantial similarity. 513 F.App’x 640, 641-42
       18 (9th Cir. 2013); see also Schkeiban v. Cameron, 566 F.App’x 616, 617 (9th Cir.
       19 2014) (affirming dismissal of Plaintiff’s infringement claim, holding that the district
       20 court had “correctly ruled that Avatar and Bats and Butterflies are not substantially
       21 similar in their protected elements”) (internal quotation marks and citation omitted).
       22 Other Circuits are in accord. See, e.g., Peter F. Gaito Architecture, LLC v. Simone
       23 Dev. Corp., 602 F.3d 57, 59 (2d Cir. 2010) (holding that “the district court properly
       24 determined non-infringement as a matter of law” in granting the defendants’ Rule
       25 12(b)(6) motion); Jacobsen v. Deseret Book Co., 287 F.3d 936, 941 (10th Cir. 2002)
       26 (observing that, because the plaintiff had referred to the alleged infringing work in
       27 the complaint, “the district properly considered the work in ruling on [defendant’s]
       28 12(b)(6) motion”); Nelson v. PRN Prods., Inc., 873 F.2d 1141, 1143 (8th Cir. 1989)
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         1 (concluding that the district court was “in proper position to apply the substantial
         2 similarity test” on a motion to dismiss where both works were before the court).
         3           District Courts routinely dismiss copyright infringement claims with
         4 prejudice and without leave to amend where the works at issue are not substantially
         5 similar in their protectable elements.6 See, e.g., Zella v. E.W. Scripps Co., 529
         6 F.Supp.2d 1124, 1130-31 (C.D. Cal. 2007) (granting motion to dismiss the
         7 plaintiffs’ claims the defendants’ syndicated talk show, Rachael Ray, infringed
         8 plaintiffs’ one-page treatment and three-page script for a television series entitled
         9 Showbiz Chefs, finding that the works were not substantially similar as a matter of
       10 law); Shame on You, 2015 WL 4885221, at *32 (dismissing infringement claim with
       11 prejudice where “there is no substantial similarity between plaintiff’s and
       12 defendants’ works as a matter of law”); Kennedy v. Paramount Pictures Corp., No.
       13 12CV372-WQH-WMC, 2013 WL 1285109, at *6 (S.D. Cal. Mar. 27, 2013)
       14 (dismissing infringement claim with prejudice after concluding “that, as a matter of
       15 law, Titanic is not substantially similar to any protectable elements of Plaintiff
       16 Kennedy’s works, and Defendant did not ‘cop[y] . . . constituent elements of
       17 [Plaintiff Kennedy’s] work that are original.’”) (quoting Feist Publ’ns, Inc. v, Rural
       18 Tel. Serv. Co. Inc., 499 U.S. 340, 361 (1991)); Mandeville-Anthony v. Walt Disney
       19 Co., No. CV 11-2137-VBF (JEMx), 2012 WL 4017785, at *1 (C.D. Cal. July 28,
       20 2012) (dismissing infringement claim where plaintiff’s works, titled Cookie & Co.
       21 and Cars/Auto–Excess/Cars Chaos, were not substantially similar to the Disney
       22 animated films Cars and Cars 2 or the spin-off series Cars Toon); Gilbert v. New
       23
             6
       24      Certain of these cases, including Shame on You were decided on a motion for
             judgment on the pleadings pursuant to Fed. R. Civ. Proc. 12(c), which is
       25    “‘functionally identical’ to Rule 12(b)(6) and that the ‘same standard of review’
       26    applies to motions brought under either rule.” Cafasso, U.S. ex rel. v. General
             Dynamics C4 Sys., Inc., 637 F.3d 1047, 1055 n.4 (9th Cir. 2011) (quoting Dworkin
       27    v. Hustler Magazine, Inc., 867 F.2d 1188, 1192 (9th Cir. 1989) and applying Iqbal
       28    to motion for judgment on the pleadings).
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         1 Line Prods., Inc., No. CV 09-02231 RGK (RZx), 2009 WL 7422458, at *2 (C.D.
         2 Cal. Nov. 16, 2009) (granting motion to dismiss where the works were not similar as
         3 a matter of law and thus “there is no reason to allow the case to advance to the
         4 summary judgment stage”).
         5        The Works at issue here—Plaintiff’s Treatment and Empire—are before this
         6 Court, and the comparison below between Plaintiff’s Treatment and Empire makes
         7 clear that there is no substantial similarity between the works as a matter of law.
         8 See, e.g., DuckHole Inc. v. NBC Universal Media LLC, No. CV 12-10077 BRO
         9 (CWx), 2013 WL 5797279, at *7 (C.D. Cal. Sept. 6, 2013) (dismissing copyright
       10 infringement claim with prejudice “[a]fter assessing the articulable similarities”
       11 between the works at issue and finding that they were not substantially similar).
       12 This Court should therefore dismiss Plaintiff’s FAC with prejudice and without
       13 leave to amend. See Thomas v. Walt Disney Co., 337 F.App’x 694, **1 (9th Cir.
       14 2009) (affirming dismissal with prejudice of copyright infringement claim where,
       15 “as a matter of law, [the plaintiff’s] literary work was not substantially similar to
       16 defendants’ animated movie”) (internal quotation marks and citation omitted).
       17         B.     Plaintiff Fails to Allege Facts Showing Defendants Had Access to
       18                His Treatment
       19         Plaintiff’s copyright claim should be dismissed because Plaintiff alleges no
       20 facts showing that Defendants had access to the Treatment. “To prove access, a
       21 plaintiff must show a reasonable possibility, not merely a bare possibility, that an
       22 alleged infringer had the chance to view the protected work.” Art Attacks Ink, LLC
       23 v. MGA Entm’t Inc., 581 F.3d 1138, 1143 (9th Cir. 2009); see also Seals-McClellan
       24 v. Dreamworks, Inc., 120 F.App’x 3, 4 (9th Cir. 2004) (holding that “[a] bare
       25 possibility of access is insufficient to sustain a copyright infringement claim” (citing
       26 Jason v. Fonda, 698 F.2d 966, 967 (9th Cir. 1982)). “Where there is no direct
       27 evidence of access, circumstantial evidence can be used to prove access either by
       28 (1) establishing a chain of events linking the plaintiff’s work and the defendant’s
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         1 access, or (2) showing that the plaintiff’s work has been widely disseminated.” Art
         2 Attacks, 581 F.3d at 1143. Even then, however, “it must be reasonably possible that
         3 the paths of the infringer and infringed work crossed.” Towler v. Sayles, 76 F.3d
         4 579, 582 (4th Cir. 1996). “Access may not be inferred through mere speculation or
         5 conjecture.” Murray Hill Publ’ns v. Twentieth Century Fox Film Corp., 361 F.3d
         6 312, 316 (6th Cir. 2004) (internal quotation marks and citation omitted). Where, as
         7 here, a plaintiff fails to allege specific facts establishing access, his infringement
         8 claim should be dismissed. See, e.g., Feldman v. Twentieth Century Fox Film
         9 Corp., 723 F.Supp.2d 357, 366 (D. Mass. 2010) (dismissing infringement claim
       10 where the plaintiff “failed to allege facts sufficient to demonstrate a reasonable
       11 opportunity of access to her [works]”).
       12          Plaintiff not only fails to allege a chain of events linking the Treatment and
       13 access by a creator of Empire, but he expressly alleges that the chain of events
       14 stopped with the three people to whom he gave the Treatment. Plaintiff does not
       15 claim that Roundtree or his agent, McMinn, ever passed the Treatment on to anyone,
       16 let alone anyone with any role in creating Empire, FAC, ¶¶ 20, 24, 26-29, and
       17 Plaintiff’s “close friend[] and business associate” Tulli concedes that he filed the
       18 Treatment away in his home office where it “remained in a file folder.” FAC, ¶ 14,
       19 Ex. E-1 (emphasis added). In fact, the only person connected to Empire with whom
       20 Plaintiff had any contact is Howard, an actor in Empire, but even then, Plaintiff
       21 alleges that he and Howard had only “a chance meeting” at a charity event. FAC,
       22 ¶ 32. Plaintiff does not allege that he gave Howard the Treatment, see id., and does
       23 not allege that Howard had any role in Empire’s creation. See Meta-Film Assocs.,
       24 Inc. v. MCA, Inc., 586 F.Supp. 1346, 1356 (C.D. Cal. 1984) (finding no access
       25 where the plaintiff failed to “establish[] a nexus between the individual with
       26 knowledge of the plaintiff’s work and the alleged copier”); see also Towler, 76 F.3d
       27 at 583 (finding no access when plaintiff alleged nothing more than a “‘tortious chain
       28 of hypothetical transmittals’” linking the defendant to her work) (citation omitted).
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         1        Nor does Plaintiff allege that his work has been widely disseminated.
         2 Although he alleges that the “King Solomon” project is referenced on his company’s
         3 website and that a published article directed readers to that website, FAC, ¶¶ 31, 33,
         4 Exs. M, O, he concedes that the Treatment itself was not available on that website.
         5 FAC, ¶ 31, Ex. M-1. See Kenney v. Warner Bros. Entm’t Inc., 984 F.Supp.2d 9, 13
         6 (D. Mass. 2013) (dismissing infringement claim where the plaintiff “relie[d] on his
         7 website to support his claim of access,” but did not allege that website included the
         8 work he claimed was infringed). Even if it were, “the mere fact that [Plaintiff’s]
         9 work was on the internet prior to the creation of defendants’ work is insufficient by
       10 itself to demonstrate wide dissemination.” O’Keefe v. Ogilvy & Mather Worldwide,
       11 Inc., 590 F.Supp.2d 508, 515 (S.D.N.Y. 2008); see also Art Attacks, 581 F.3d at
       12 1145 (publication on the internet, by itself, not “wide dissemination” of the
       13 plaintiff’s work).
       14         C.     Empire Is Not Substantially Similar to Plaintiff’s Treatment
       15         “‘Substantial similarity’ refers to similarity of expression, not merely
       16 similarity of ideas or concepts.” Dr. Seuss Enters., L .P. v. Penguin Books USA,
       17 Inc., 109 F.3d 1394, 1398 (9th Cir. 1997); see also 17 U.S.C. § 102(b); Smart
       18 Inventions, Inc. v. Allied Commc’ns. Corp., 94 F.Supp.2d 1060, 1066 (C.D. Cal.
       19 2000) (“It is an axiom of copyright law that ideas are not protected.”). Only
       20 protected expression is relevant for purposes of assessing substantial similarity. See
       21 Shaw v. Lindheim, 919 F.2d 1353, 1361 (9th Cir. 1990); Cavalier v. Random House,
       22 Inc., 297 F.3d 815, 822 (9th Cir. 2002) (court “must take care to inquire only
       23 whether the protectable elements [of the works at issue], standing alone, are
       24 substantially similar”) (internal quotation marks, citations, emphasis omitted); see
       25 also Funky Films, Inc. v. Time Warner Entm’t Co., L.P., 462 F.3d 1072, 1077 (9th
       26 Cir. 2006) (requiring the court to disregard non-protectable elements in determining
       27 substantial similarity). “‘[C]opyright protection does not extend to historical or
       28 contemporary facts, material traceable to common sources or in the public domains,
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         1 and scenes a faire.’” Chase-Riboud v. Dreamworks, Inc., 987 F.Supp. 1222, 1226
         2 (C.D. Cal. 1997) (citation omitted).
         3        The substantial similarity test contains an extrinsic and intrinsic component,
         4 Funky Films, 462 F.3d at 1077, but, at the pleading stage, only the extrinsic test
         5 applies. Zella, 529 F.Supp.2d at 1133; Kouf v. Walt Disney Pictures & Television,
         6 16 F.3d 1042, 1045 (9th Cir. 1994) (citation omitted). The extrinsic test “focuses on
         7 ‘articulable similarities between the plot, themes, dialogue, mood, setting, pace,
         8 characters, and sequence of events’ in two works.” Funky Films, 462 F.3d at 1077
         9 (quoting Kouf, 16 F.3d at 1045).
       10         Applying each factor of the extrinsic test to Plaintiff’s Treatment and Empire,
       11 it is clear that there is no substantial similarity between the protectable elements of
       12 the two works. Plaintiff’s claimed “similarities”—to the extent they exist at all—
       13 consist of ideas or generic scenes a faire, none of which are protectable, see Berkic
       14 v. Crichton, 761 F.2d 1289, 1293 (9th Cir. 1985) (“No one can own the basic idea
       15 for a story”), and thus none of which provide any support for Plaintiff’s
       16 infringement claim.
       17                1.    Plot
       18         “General plot ideas are not protected by copyright law,” but rather “remain
       19 forever the common property of artistic mankind.” Berkic, 761 F.2d at 1293; see
       20 also Zella, 529 F.Supp.2d at 1134 (observing that “courts have declined protection
       21 of ideas far more developed” than those contained in Zella’s “one-page treatment
       22 and three-page script”). Plaintiff’s Treatment sets forth his basic idea for the King
       23 Solomon mini-series: King, a “Black Record Business Mogul,” confronts the
       24 struggles of running a record label as well as the family drama arising out of his
       25 relationships with his three adult children (two sons and a daughter) and his half-
       26 brother. FAC, Ex. A. Even at this basic level, however, the plot described in
       27 Plaintiff’s Treatment is distinct from that of Empire. The plot in Plaintiff’s
       28 Treatment is generic to any soap opera about a wealthy patriarch and his family. In
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       1 contrast, Empire focuses on two protagonists—Lucious and his ex-wife Cookie—
       2 and their three sons, as they deal with Cookie’s release from prison, Empire’s IPO,
       3 and the competition among the sons to succeed Lucious as Empire’s CEO. RJN,
       4 Ex. A, Ep. 1, 8:06-37, 4:38-6:42, 6:43-8:05.7 Empire also includes numerous major
       5 plot points that are entirely absent in Plaintiff’s Treatment, including: Lucious’s
       6 illness, his repeated homophobic rejection of his gay son Jamal, Jamal’s struggle
       7 about whether to come out publicly as gay in the homophobic hip hop industry,
       8 Andre’s (Lucious and Cookie’s oldest son) inter-racial marriage and struggle with
       9 bipolar disorder, Cookie’s battles with Lucious, the on-again-off-again romantic
      10 relationship between Cookie and Lucious (who is engaged to Anika), the feuding
      11 among the three brothers, the shifting alliances among Lucious, Cookie and each of
      12 their sons, and the struggles of singer sons Jamal and Hakeem to find their artistic
      13 voice.
      14           Plaintiff lists thirteen purported “similarities” between his Treatment and
      15 Empire in his FAC, FAC, ¶ 11, most of which mischaracterize Empire. For
      16 example, Plaintiff’s treatment describes the “Mob” backing of King’s rival record
      17 company, “Diamond Star Records” as a major element of the plot. FAC, ¶ 11, Ex.
      18 A-4. Empire’s rival “Creedmoor Records,” is not, however, backed by the “Mob,”
      19 and its owner, Billy Beretti, is a minor character, appearing only briefly in a few
      20 Empire episodes. RJN, Ex. A, Eps. 4, 9, 11. Plaintiff’s allegation that the record
      21 label in each work started with one “female/band recording Artist,” FAC, ¶ 11, is
      22 not only a minor plot point, but also incorrect, as Empire’s first artist was not a
      23 “female singer” or a “band called ‘The Elements,’” as described in the Treatment,
      24 FAC, Ex. A-4, but Lucious himself, who started Empire as a way to release his own
      25
      26
      27   7
            There is no corresponding character in Empire to King’s half-brother Jake, nor any
        28 plot in Empire that resembles Jake’s storyline.
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         1 recordings after he left Creedmoor Recordings in a dispute with Beretti over
         2 royalties. RJN, Ex. A, Ep. 4, 29:50-30:47, 31:54-33:09.
         3        Courts in the Ninth Circuit have found plots with far more similarities than
         4 those between Plaintiff’s Treatment and Empire to be dissimilar as a matter of law.
         5 See, e.g., Funky Films, 462 F.3d at 1081; Kouf, 16 F.3d at 1044-45 (no substantial
         6 similarity between works involving plots with shrunken kids and the “life struggle
         7 of kids fighting insurmountable dangers”); Berkic, 761 F.2d at 1293 (no substantial
         8 similarity between works with plots of “criminal organizations that murder healthy
         9 young people, then remove and sell their vital organs to wealthy people in need of
       10 organ transplants” and the general story of the “adventures of a young professional
       11 who courageously investigates, and finally exposes, the criminal organization”);
       12 Benay v. Warner Bros. Entm’t, Inc., 607 F.3d 620, 625 (9th Cir. 2010) (no
       13 substantial similarity between works about American war veterans who traveled to
       14 Japan to train the Japanese army to combat a samurai uprising); Shame on You, 2015
       15 WL 4885221, at **16-17 (no substantial similarity between works where female
       16 main character who breaks up with boyfriend, gets intoxicated and has one-night
       17 stand, wakes up disoriented the next morning and, due to various difficulties
       18 including losing her cell phone and wallet, has a hard time finding her way home).
       19 Plaintiff’s Treatment is far less similar to Empire than any of the works at issue in
       20 these cases, and Plaintiff cannot, as a result, sustain his infringement claim.
       21         Plaintiff’s remaining “similarities”—such as the fact that each Work includes
       22 a “wife and three (3) children,” that Empire and Solomon Records each have “many
       23 subsidiaries,” that two characters had children out of wedlock and that King
       24 Solomon and Empire are both “ground-breaking” with the look and feel of 1980s
       25 primetime soap operas, see FAC, ¶ 11—are either too trivial to create similarity or
       26 are unprotectable scenes a faire that naturally flow from a story about the struggles
       27 of running a family music business. See Cavalier, 297 F.3d at 823. That at least
       28 one child would enter the family business, and that there would be “friction between
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       1 family members to take over the family business” are “situations and incidents that
       2 flow necessarily or naturally from [the] basic plot premise” of a family-run business
       3 and thus “cannot sustain a finding of infringement.”8 See FAC, ¶ 11; see also Funky
       4 Films, 462 F.3d at 1081 (finding similarities such as “the family-run funeral home,
       5 the father’ death, and the return of the “prodigal son,” who assists his brother in
       6 maintaining the family business” to be scenes a faire of stories about contemporary
       7 family-run funeral homes); 4 M. Nimmer & D. Nimmer, Nimmer on Copyright §
       8 13.03[B][4] (Matthew Bender Rev. Ed.) (noting, for example, that any “writing
       9 about vampires” will involve “killings, macabre settings, and choices between good
      10 and evil”).
      11                  2.    Sequence of Events
      12           In assessing similarity (or lack thereof), the court looks to the “actual concrete
      13 elements that make up the total sequence of events” of works at issue. Funky Films,
      14 462 F.3d at 1077. Most of Plaintiff’s four-page Treatment consists of character
      15 descriptions and backstory (which, as described below, are also not similar to
      16 Empire), not “events.” FAC, Ex. A. In fact, the only thing close to a story arc in
      17 Plaintiff’s Treatment is centered on King’s half-brother Jake, who is released from
      18 prison, crashes King’s daughter Jenny’s 21st birthday party, demands “hush-
      19 money,” is thrown out of the party, tries (and fails) to find a job, returns to a life of
      20 crime and meets a young prostitute on the street, who turns out to be his daughter.
      21 FAC, Ex. A-5, A-6.
      22           What little “sequence” appears in Plaintiff’s Treatment is entirely dissimilar
      23 to Empire, which unfolds with Lucious announcing Empire’s upcoming IPO, at the
      24 same time Cookie is being released from prison. RJN, Ex. A, Ep. 1, 4:38-6:42,
      25
           8
      26    If “friction between family members to take over the family business” were a
           protectable element, as Plaintiff claims, see FAC, ¶ 11, then Plaintiff’s Treatment
        27 would infringe Dynasty, the series on which Plaintiff acknowledges his story is
        28 based. FAC, Ex. A-5.
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         1 8:06-37. Cookie first arrives at her son Jamal’s apartment, then makes her entrance
         2 at Empire, where she announces her intent to claim half of the company. Id., Ep. 1,
         3 11:20-14:02, 14:04-15:42. Cookie then visits her youngest son, Hakeem, whom she
         4 beats with a broom handle for being disrespectful, and is then visited by her oldest
         5 son, Andre, with whom she schemes to take over the company. Id., Ep. 1, 17:45-
         6 18:51, 26:01-28:02. After Lucious decides to give Hakeem full credit for a song he
         7 wrote with Jamal, Jamal agrees to let Cookie manage him and make him a star, and
         8 also tells the Cookie that he wants to come out publicly as gay. Id., Ep. 1, 38:14-
         9 39:17. Thereafter, Lucious is blackmailed by his long-time bodyguard (and
       10 Cookie’s cousin) Bunkie. Id., Ep. 1, 36:43-37:45. He then meets with Cookie, who
       11 tells him they are going to war and she will show him that a gay man (Jamal) can
       12 run his company. Id., Ep. 1, 44:18-45:04. As the series unfolds, these story lines
       13 depart, come together and change direction, with the relationship between Lucious
       14 and Cookie always at the center.
       15         Not only are the “events” in each story different, but the manner in which
       16 they are told is also wholly dissimilar. While Plaintiff’s Treatment refers to
       17 “occasional flashbacks,” his story, in fact, unfolds linearly: Joe leaves his father’s
       18 house, joins King’s rival, King throws Jenny a birthday party, Jake appears, etc.
       19 Empire’s storytelling is much more complex, with multiple story lines taking place
       20 at one time, with extensive use of flashbacks to both the recent and distant past to
       21 flesh out the characters’ backstories. See Funky Films, 462 F.3d at 1081 (finding no
       22 similarity in sequence where the plaintiff’s work “unfolds in a straight, linear
       23 trajectory,” while the defendant’s “employs repetition, dreams, and flashbacks to
       24 intensify certain scenes and conflate the real with the unreal.”); see also Shame on
       25 You, 2015 WL 4885221, at *30 (finding no similarity where the stories did not share
       26 any detailed sequence of events).
       27
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         1               3.     Theme
         2         Plaintiff alleges that the Works are similar because they are both about a
         3 wealthy black family headed by a black record mogul, dealing with the family’s
         4 internal problems, as well as the external problems of running the family business.
         5 FAC, ¶¶ 11, 13. Empire, however, is much more complex than this basic premise,
         6 as its themes include homophobia in the African-American community and hip hop
         7 industry, the struggle of a middle-aged woman (Cookie) to gain respect in the male-
         8 dominated hip hop world, interracial marriage, the pitfalls of young celebrity, the
         9 difficulty of mental illness, and the terminal illness of the series’ protagonist.
       10 Regardless, themes of internal family problems and problems of running a business
       11 are neither original nor protectable. See Cavalier, 297 F.3d at 823 (“[f]amiliar stock
       12 scenes and themes that are staples of literature are not protected” and hence cannot
       13 serve as grounds for substantial similarity); Benjamin v. Walt Disney Co., No. CV-
       14 05-228 GPS, 2007 WL 1655783, at *5 (C.D. Cal. June 5, 2007) (“stock themes
       15 ‘cannot raise a triable issue of fact on [a] plaintiff’s copyright claim’”) (citation
       16 omitted, alteration in original). The themes Plaintiff identifies as purported
       17 similarities flow naturally from a shared premise of a family-run record label, and
       18 therefore cannot serve as a basis for infringement. See Willis v. Home Box Office,
       19 No. 00 CIV 2500 (JSM), 2001 WL 1352916, at *2 (S.D.N.Y. Nov. 2, 2001)
       20 (rejecting claim of similarities based on “themes . . . common to the talent agency
       21 business, or to situation comedies in general or in trivial detail that are not essential
       22 to either series”); cf. Murray v. National Broad. Co., 671 F.Supp. 236, 238, 245
       23 (S.D.N.Y. 1987), aff’d, 844 F.2d 988 (2d Cir. 1988), abrogated on other grounds by
       24 Nadel v. Play-By-Play Toys & Novelties, 208 F.3d 368 (2d Cir. 2000) (rejecting
       25 misappropriation claim based on based on allegations of similarities between
       26 plaintiff’s proposal for a television show about a black family headed by
       27 professional parents and The Cosby Show, holding that the portrayal of “an intact
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         1 black family in a color-blind, nonstereotypical manner” is not novel idea and other
         2 similarities, such as the number of children, were trivial details).
         3                  4.    Characters
         4           Only characters that are “especially distinctive” are protected by copyright
         5 law. Olson v. National Broad. Co., Inc., 855 F.2d 1446, 1452 (9th Cir. 1988) (citing
         6 cartoon characters as example of a distinctive, copyrightable character); Feldman,
         7 723 F.Supp.2d at 367 (“copyright protection does not extend to stock characters,
         8 such as a blond, blue-eyed hero or doctors in ‘hot and cold’ romances”). Characters
         9 with “traits that flow naturally from the works’ shared premises” cannot serve as a
       10 basis for infringement. Benay, 607 F.3d at 626 (citing Olson, 855 F.2d at 1451-
       11 53).).9 Plaintiff alleges that five of the characters from his Treatment were copied in
       12 Empire: Lucious and Cookie Lyon and their three children. As described in detail
       13 below, however, these characters share few characteristics at all, none of which are
       14 protectable and nearly all of which are scenes a faire of Plaintiff’s basic premise.
       15                         (a)   Lucious and King are not Similar in Protected
       16                               Expression
       17            Plaintiff alleges that Lucious and King are similar because they are both black
       18 record moguls, with a wife and three children, FAC, ¶ 11, characteristics that are far
       19 too generic and common to be protectable. See, e.g., Flynn v. Surnow, No. CV 02-
       20 9058-JFW (PLAx), 2003 WL 23411877, at *8 (C.D. Cal. Dec. 9, 2003) (no
       21 protectable similarity where both works dealt with campaign of an African-
       22 American Senator for President); Shame on You, 2015 WL 4885221, at *27 (“The
       23
             9
       24      The absence of corresponding characters in each work also weighs in favor of
             finding a lack of substantial similarity. See Funky Films, 462 F.3d at 1078-79.
       25    There are numerous characters in Empire without counterparts in Plaintiff’s
       26    Treatment: Andre’s wife Rhonda, Lucious’s fiancé, Anika, Becky, Lucious’s
             former assistant and Empire’s current head of A&R, Lucious’s confidant, Vernon,
       27    and Cookie’s love interest, Empire’s chief of security Malcolm. Empire has no
       28    counterpart to King’s half-brother Jake.
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       1 concept of a male character who works two or more jobs is not protectable.”).
       2 Plaintiff’s surface-level characterization also ignores the characters’ key differences:
       3 Lucious is a world-famous musical artist, who left a life of drug dealing and violent
       4 crime to found a media, fashion and entertainment empire without any formal
       5 education, RJN, Ex. A, Ep. 1, 5:33-6:42, 39:50-40:49, while King is Harvard-
       6 educated, never had his own music career, and apparently has no criminal past.
       7 FAC, Ex. A-4, 6. King, unlike Lucious, does not have ALS or any other serious
       8 illness, and Lucious’s homophobic rejection of his gay son Jamal—a major
       9 component of his character—is wholly absent from Plaintiff’s description of King.
      10                      (b)   Cookie Is not Similar in Protected Expression to any
      11                            Character in King Solomon
      12         Plaintiff all but concedes that the only similarities between Empire’s Cookie
      13 and King’s wife Janet is that they are (or in Cookie’s case, were) both wives. See
      14 FAC, ¶ 11. And indeed, the characters are wildly dissimilar. King’s first wife dies
      15 before Plaintiff’s story begins, and Plaintiff describes King’s second wife, Janet,
      16 cursorily as King’s “childhood sweetheart and secretary” who supports Jenny’s
      17 “modeling and actress career” but lacks a professional career and otherwise plays no
      18 role in the story. FAC, Ex. A-4, 5. Cookie, in sharp contrast, is Lucious’s ex-wife
      19 who shares the spotlight with Lucious as one of Empire’s primary characters.10
      20 Cookie emerges from jail after 17 years for drug dealing as a strong, charismatic,
      21 independent, blunt-talking and savvy businesswoman, as well as a talented music
      22 producer and manager. E.g., RJN, Ex. A, Ep. 1, 14:52-56, 28:02-30:10. Plaintiff’s
      23 characters King and Janet appear to be happily married, see FAC, Ex. A-4, while
      24 Lucious and Cookie are divorced and have a volatile love-hate relationship
      25 complicated by Lucious’s fiancé, Anika. RJN, Ex. A, Ep. 1, 16:35-17:13, Ep. 6,
      26
      27   10
             Actress Taraji P. Henson, who plays Cookie, recently won a Golden Globe Award
        28 for her hugely popular role.
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         1 2:43-3:33. Cookie is an unflagging supporter of her gay son Jamal. There are no
         2 gay characters in Plaintiff’s Treatment, and Janet thus plays no such role.
         3        While both stories have characters who were released from prison after
         4 serving sentences for drug crimes: Cookie in Empire, and Jake, King’s half-brother,
         5 see FAC, ¶ 11, any similarity between Cookie and Jake ends at the prison gate.
         6 Cookie is a talented music producer in her own right, and upon her release from
         7 prison, returns to reclaim her share of the record label she helped found and
         8 becomes part of Empire, managing her son Jamal and other Empire artists. RJN,
         9 Ex. A, Ep. 1, 28:02-30:10. In contrast, King’s brother Jake is not a music producer
       10 and has no interest in taking over King’s music business. Jake returns from prison
       11 to extort “hush money” from his family and then returns to a life of crime, where he
       12 ends up in his own separate family drama arising out of his discovery of his
       13 unknown teenage daughter who has become a prostitute, FAC, Ex. A-5.
       14         Moreover, being released from prison is an unprotectable scene a faire of the
       15 premise of a character involved in selling drugs. See Idema v. Dreamworks, Inc.,
       16 162 F.Supp.2d 1129, 1186 (C.D. Cal. 2001) (“[T]o the extent that the two characters
       17 are similar, it is only with respect to traits that are so generalized and/or cliché as to
       18 be nearly scenes a faire of the military/action genre.”); see also Feldman, 723
       19 F.Supp.2d at 367 (observing that “[a] person may not obtain a copyright on a
       20 particular type of character, particularly if this character represents a recognizable
       21 stereotype”) (internal quotation marks and citation omitted).
       22                       (c)   King’s Adult Children are Not Similar in Protected
       23                             Expression to Lucious’s Three Sons
       24         As Plaintiff points out, both Lucious and King each have three adult children,
       25 but the similarities end there. Plaintiff has one son who is a hip hop artist, FAC, ¶
       26 11, while two of Lucious’s sons (Jamal and Hakeem) are recording artists. In
       27 Plaintiff’s Treatment, the younger of the two sons, Joe, has been banned from his
       28 father’s estate for dropping out of college, and is signed to rival “Diamond Star
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         1 Records,” Solomon Records’ rival. FAC, Ex. A-4. In contrast, Lucious does not
         2 reject his rapper son, Hakeem, who never went to college. RJN, Ex. A. at Ep. 1,
         3 38:15-38:50. Instead, Lucious works closely with Hakeem, in the hope of someday
         4 naming Hakeem as his successor. Id., Ep. 4, 5:42-58.
         5        Plaintiff also makes the weak contention that King’s daughter, Jenny, is
         6 similar to Lucious’s gay son, Jamal, solely because Jamal is a “boy with feminine
         7 qualities/Gay.” FAC, ¶ 11. Plaintiff’s assertion not only invokes inaccurate
         8 stereotypes about gay men, but it also ignores important differences between Jenny,
         9 a model-actress not in the music business, and Jamal, a nuanced character,
       10 accomplished pop singer, and rising mogul in Empire Entertainment.
       11         Finally, although the eldest sons in both works—Empire’s Andre and
       12 Plaintiff’s Jack—both have business degrees and hope to take over the company,
       13 they, too, have no protectable commonalities. Jack merits less than a sentence in
       14 Plaintiff’s Treatment. FAC, Ex. A-4. By contrast, Andre is a complex character,
       15 whose bipolar disorder and inter-racial marriage inform much of his character’s
       16 storyline. E.g., RJN, Ex. A, Ep. 1, 24:41-26:00; Ep. 10, 0:53-3:49. Moreover,
       17 while in Plaintiff’s Treatment only one son seeks to take control of King’s music
       18 business, in Empire all three sons vie to take over Lucious’s entertainment empire.
       19 Id., Ep. 1, 6:43-8:05. In any event, being a hip hop artist or having a business
       20 degree and a desire to take over the family company are characteristics far too
       21 generic to be protectable. See, e.g., Benjamin, 2007 WL 1655783, at *6 (rejecting
       22 infringement claim where both works featured “attractive, likable, 30-year-old
       23 females that have escaped their humble past to pursue their dreams of working and
       24 living in the big city”); Rice v. Fox Broad. Co., 330 F.3d 1170, 1176 (9th Cir. 2003)
       25 (finding “shared attributes of appearance and mysterious demeanor” between
       26 magician characters to be “generic and common”); Capcom Co., Ltd. v. MKR Grp.,
       27 Inc., No. C 08-0904 RS, 2008 WL 4661479, at *8 (N.D. Cal. Oct. 20, 2008)
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         1 (rejecting infringement claim based on “superficial, generic physical similarities of
         2 gender, hair color and wardrobe”).
         3               5.    Mood
         4        The works’ moods must be both similar and protectable to support an
         5 infringement claim. See Zella, 529 F.Supp.2d at 1136 (observing that “the relaxed,
         6 fun mood of the two shows is not a protectable element, even though it may be
         7 substantially similar.”). “A general mood that flows ‘naturally from unprotectable
         8 basic plot premises’ is not entitled to protection.” See Shame on You, 2015 WL
         9 4885221, at *22 (citation omitted).
       10         Plaintiff describes the mood of his mini-series as the “style and elegance of
       11 ‘Dynasty’ meets ‘The Sopranos’ with a sprink[l]ing of ‘The Godfather’ blending, in
       12 and out, for effect.” FAC, ¶ 11, Ex. A-7. The idea of an “elegant” family drama,
       13 reminiscent of 1980s prime-time soap operas, is neither original nor protectable.
       14 See Olson, 855 F.2d at 1451 (finding no infringement where the similarities between
       15 the works were “common to the genre of action-adventure television series”); Rice,
       16 330 F.3d at 1177 (concluding that the mood of secrecy and mystery in works about
       17 the mystery of magic was “generic, constitute[d] scenes a faire, and merge[d] with
       18 the idea of revealing magic tricks”).
       19         Plaintiff also alleges that his Treatment contemplates having actual recording
       20 stars perform their hits or introduce new material each week, while, according to
       21 Plaintiff, Empire features many “present day stars performing their materials.” FAC
       22 ¶ 11. The idea of having artists perform in a story about the music industry is not,
       23 itself, protectable, see Berkic, 761 F.2d at 1293 (“No one can own the basic idea for
       24 a story”), as evidenced by series like Glee, Nashville, and even The Partridge
       25 Family. Moreover, most of the songs in Empire are not performed by “present day
       26 stars” but by the characters themselves, e.g., RJN, Ex. A, Ep. 1, 3:20-4:38, 30:11-
       27 32:33, whereas Plaintiff’s Treatment contemplates performances by “present day
       28 stars” and not by characters.
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         1              6.     Setting
         2        The works have different settings—Empire takes place in New York City,
         3 while the story in Plaintiff’s Treatment takes place in Hollywood. “The mere fact
         4 that some portion of both works occurs in a city” is ‘generic and inconsequential.’”
         5 Shame on You, 2015 WL 4885221, at *23 (quoting Rice, 330 F.3d at 1177).
         6              7.     Pace
         7        Plaintiff’s four-page Treatment—which includes only a smattering of general
         8 plot ideas—does not convey any pace at all, let alone a pace similar to Empire’s.
         9 See Idema, 162 F.Supp.2d at 1185 (noting the difficulty of comparing the pace
       10 “between works that are captured in different media (written word versus film)”).
       11 But even if the pace of both Works could be considered similar because they are
       12 both part of the genre of hour-long, family soap operas or dramas, that similarity is
       13 so common to those genres that it is not evidence of infringement. See Shame on
       14 You, 2015 WL 4885221, at *25 (“[E]ven if it is assumed that both works feature the
       15 brisk pace of many modern comedies, similarities of pace that are common to a
       16 genre are insufficient to satisfy the extrinsic test.”); Olson, 855 F.2d at 1451 (noting
       17 that “quick[] pace[]” is “common to the genre of action-adventure television series
       18 and movies and therefore do[es] not demonstrate substantial similarity”).
       19               8.     Dialogue
       20         “To show substantial similarity based on dialogue, a plaintiff must establish
       21 ‘extended similarity of dialogue.’” Shame on You, 2015 WL 4885221, at *21
       22 (quoting Olson, 855 F.2d at 1450). Plaintiff alleges no similarities in the dialogue
       23 whatsoever —nor could he, as his four-page Treatment contains no dialogue.
       24                                           ***
       25         Plaintiff identifies no similarities in protectable expression between his
       26 Treatment and Empire, and a comparison of the two Works reveals that no such
       27 similarities exist. No additional pleadings can change that fact, and Plaintiff’s
       28 infringement claim should be dismissed with prejudice. See Zella, 529 F.Supp.2d at
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         1 1130-31; see also Campbell v. Walt Disney Co., 718 F.Supp.2d 1108, 1116 (N.D.
         2 Cal. 2010) (denying leave to amend where works were not substantially similar).
         3 V.     LEAVE TO AMEND WOULD BE FUTILE
         4        Plaintiff’s FAC should be dismissed in its entirety, and with prejudice,
         5 because nothing Plaintiff could allege in an amended complaint could change the
         6 fact that Empire is not substantially similar in protectable elements to Plaintiff’s
         7 Treatment. See Campbell, 718 F.Supp.2d at 1116 (denying leave to amend where
         8 the works were not substantially similar); Gadh, 2014 WL 1778950, at *6
         9 (dismissing with prejudice where works were not substantially similar).
       10 VI.     CONCLUSION
       11         For the foregoing reasons, Defendants respectfully request that the Court
       12 grant this Motion and dismiss the FAC with prejudice and without leave to amend.
       13
       14 DATED: January 18, 2016                CALDWELL LESLIE & PROCTOR, PC
       15                                        LINDA M. BURROW
                                                 KELLY L. PERIGOE
       16
                                                 By        /s/
       17
                                                      LINDA M. BURROW
       18                                        Attorneys for Defendants DANIEL WILLIAM
       19                                        STRONG, LEE DANIELS, IMAGINE
                                                 TELEVISION, LLC, and TWENTIETH
       20                                        CENTURY FOX FILM CORPORATION
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CALDWELL
  LESLIE &
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 PROCTOR     DEFENDANTS’ MOTION TO DISMISS FIRST AMENDED COMPLAINT WITH PREJUDICE PURSUANT TO
                 FEDERAL RULE OF CIVIL PROCEDURE 12(B)(6); MEMORANDUM OF POINTS AND AUTHORITIES
